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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


GALVIN DUDLEY                                       :
158 Fantasy Drive                                   :
Henryville, PA 18332                                :    CIVIL ACTION
                                                    :    NO.: 3:21-CV-00219-MEM
         Plaintiff,                                 :
                                                    :
         v.                                         :
                                                    :
POCONO MOUNTAIN RECOVERY                            :
CENTER, LLC                                         :
3437 PA 115                                         :     JURY TRIAL DEMANDED
Henryville, PA 18332                                :
      And                                           :
POCONO MOUNTAIN RECOVERY                            :
FOUNDATION                                          :
3437 PA-115                                         :
Henryville, PA 18332                                :
And                                                 :
POCONO MOUNTAIN RECOVERY                            :
CENTER LAND, LLC                                    :
3437 PA-115                                         :
Henryville, PA 18332                                :
                                                    :
         Defendants.                                :


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         Pursuant to Fed. R. Civ. P. 41(a), the Parties submit this Joint Stipulation of Dismissal with

Prejudice and request that the Court dismiss this action. Each party agrees to bear its own costs

and expenses.




APPROVED: 12/9/21                                              s/ Malachy E. Mannion
                                                                                 U.S.D.J.

4827-9829-6575.1
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